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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

PHILADELPHIA YEARLY MEETING OF
THE RELIGIOUS SOCIETY OF FRIENDS,
NEW ENGLAND YEARLY MEETING OF
THE RELIGIOUS SOCIETY OF FRIENDS,
BALTIMORE YEARLY MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS, INC.,
ADELPHI FRIENDS MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS,
RICHMOND FRIENDS MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS,

NEW YORK YEARLY MEETING OF THE
RELIGIOUS SOCIETY OF FRIENDS, INC.,
COOPERATIVE BAPTIST FELLOWSHIP
ee CEFR AER, Civil Action No. 25-0243-TDC

Plaintiffs,
Vv.

U.S. DEPARTMENT OF
HOMELAND SECURITY and
KRISTI NOEM,

in her official capacity as Secretary of
Homeland Security,

Defendants.

ORDER
Plaintiffs have filed a “Notice of Supplemental Authority,” in which they cite to
Department of Commerce v. New York, 588 U.S. 752 (2019), and provide analysis of that case.
ECF No. 55. Defendants oppose the filing “because it constitutes an unauthorized sur-reply that
re-argues the issue of standing by citing a five-year-old Supreme Court decision.” ECF No. 56.
Where the Court was previously aware of Department of Commerce and its relevance to

the pending Motion, the dispute is largely moot. Nevertheless, Local Rule 105.2 provides that:
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“Unless otherwise ordered by the Court, surreply memoranda are not permitted to be filed.”
Although the Court may sometimes consider supplemental filings identifying relevant case law or
other legal authority that had not been issued at the time of the original briefing, Plaintiffs’ filing
does not fall into that category. Accordingly, it constitutes a surreply brief filed without leave of
the Court. The Court will therefore not consider the analysis of Department of Commerce provided

in the parties’ filings. ECF Nos. 55, 56.

Date: February 24, 2025

THEODORE D. CHUANG
United States District Judg
